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 1
      Tracy L. Anielski, Esq. (SBN 140476)
 2    LAW OFFICE OF TRACY L. ANIELSKI
      11750 Treeview Place
 3    San Diego, California 92131
      Telephone: (858) 566-1877
 4    Email:           tanielski@att.net
 5    Attorney for Defendant
      DISNEY WAY HOTEL PARTNERS, LLC,
 6    a Delaware limited liability company
 7

 8                           UNITED STATES DISTRICT COURT
 9           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
10

11
      RAFAEL ARROYO,                                 Case No. ______________
12

13         Plaintiff,                                NOTICE OF REMOVAL OF
                                                     ACTION TO FEDERAL COURT
14
                           v.                        PURSUANT TO 28 U.S.C.
15                                                   SECTIONS 1331, 1441 AND 1446
      DISNEY WAY HOTEL PARTNERS,                     (FEDERAL QUESTION
16
      LLC, a Delaware limited liability              JURISDICTION)
17    company; and DOES 1-10,
18
           Defendants.
19

20

21    TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO ALL
22    PARTIES AND THEIR ATTORNEYS OF RECORD:
23          PLEASE TAKE NOTICE that Defendant DISNEY WAY HOTEL
24    PARTNERS, LLC (“Defendant”) hereby removes the state court action described
25    below from the Superior Court of the State of California for the County of Orange
26    to the United States District Court for the Central District of California, Southern
27    Division, on the basis of Federal Question Jurisdiction, 28 U.S.C. § 1331, and
28    pursuant to 28 U.S.C. §§ 1441 and 1446.

                                                 1
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 1
            1.     On December 16, 2020, this action was commenced in the Superior
 2
     Court of the State of California for the County of Orange, entitled Rafael Arroyo v.
 3
     Disney Way Hotel Partners, etc., et al., Case No. 30-2020-101174712-CU-CR-CJC
 4
     (the “State Court Action”).
 5
            2.     The first date on which Defendant received a copy of the Complaint
 6
     filed in the State Court Action was on or about December 30, 2020, when it was
 7
     served by substitute service with a copy of the Complaint by Plaintiff. A copy of the
 8
     Summons and Complaint received by Defendant is attached hereto as Exhibit A.
 9
            3.     This Notice of Removal is timely under 28 U.S.C. §1446(b), because
10
     (1) a notice of removal must be filed “within thirty days after the receipt by the
11
     defendant, through service or otherwise, of a copy of the initial pleading setting
12
     forth the claim for relief upon which such action or proceeding is based . . .” 28
13
     U.S.C. § 1446(b); (2) the thirty day period for removal does not begin to run until a
14
     party has received a copy of the Complaint and has been properly served. See
15
     Murphy Brothers, Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347-348
16
     (1999); (2) the Complaint was served by substitute service on Defendant on
17
     December 30, 2020; (3) under California law and, specifically, Code of Civil
18
     Procedure section 415.20(b), service of the Complaint was not effective until ten
19
     days after service, or on January 9, 2021; and (3) the instant Notice of Removal is
20
     filed within thirty (30) days of Defendant’s initial receipt of the Complaint, and
21
     within thirty (30) days of the effective date of service of the Complaint.
22
            4.     There are no other named defendants in the action and, therefore, the
23
     consent of other defendants to the removal of this action is not required.
24
            5.     Intradistrict Assignment: Pursuant to 28 U.S.C. § 1446(a), the proper
25
     venue for removal is “to the district court of the United States for the district and
26
     division embracing the place where such action is pending.” As the United States
27
     District Court for the Central District of California, Southern Division embraces the
28


                                                 2
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 1
     County of Orange, removal and assignment to this Court is proper. 28 U.S.C. §
 2
     84(c).
 3
              6.    Jurisdiction: This Court has original jurisdiction of this civil action
 4
     under 28 U.S.C. § 1331, and the action is properly removable to this Court under 28
 5
     U.S.C. § 1441(b), on the following grounds:
 6
                     a.    The particular causes of action set forth in the Complaint
 7
              include (1) Violation of the Americans with Disabilities Act of 1990, 42
 8
              U.S.C. section 12101, et seq.; and (2) Violation of the Unruh Civil Rights
 9
              Act (Cal. Civ. Code sections 51-53.
10
                     b.    28 U.S.C. § 1331 provides that District Courts shall have
11
              original jurisdiction of all civil actions arising under the laws of the United
12
              States. Section 1441(a) provides for removal of any action in which the
13
              United States District Courts have original jurisdiction, and subdivision (c)
14
              allows for removal of the entire action, including claims arising under state
15
              laws. As this action is a civil action founded on a claim arising under federal
16
              laws, removal on the basis of federal question jurisdiction is proper pursuant
17
              to 28 U.S.C. §§ 1331 and 1441(a) and (c).
18
                     c.    This Court also has supplemental jurisdiction over Plaintiff’s
19
              remaining state law claim pursuant to 28 U.S.C. § 1367(a). As with
20
              Plaintiffs’ federal claim, Plaintiffs’ state law claim is premised on allegations
21
              that Defendants violated California and/or federal law by discriminating
22
              against Plaintiff on the basis of his disability. Plaintiff’s state and federal law
23
              claims are thus so related that they form part of the same case or controversy
24
              pursuant to 28 U.S.C. § 1367(a).
25
              7.    Defendant has received no process, pleadings or orders in this action
26
     aside from the Complaint in the State Court Action. Pursuant to 28 U.S.C. §1446(a),
27
     Defendant has attached a copy of the Complaint to the within Notice as Exhibit A.
28


                                                   3
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 1
            8.     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal
 2
     with its attachments is being served on all parties of record, including all adverse
 3
     parties, and will be filed with the clerk of the Orange County Superior Court
 4
     promptly after the filing of this Notice of Removal.
 5

 6
       Dated: January 29, 2021              LAW OFFICE OF TRACY L. ANIELSKI
 7

 8

 9                                      By s/Tracy L. Anielski
10                                        Tracy L. Anielski
                                          Attorney for Defendant
11                                        DISNEY WAY HOTEL PARTNERS, LLC,
12                                        a Delaware limited liability company
13

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     Case 8:21-cv-00204 Document 1 Filed 01/29/21 Page 5 of 14 Page ID #:5



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27                                  EXHIBIT A
28
           Electronically Filed by Superior Court of California, County of Orange, 12/16/2020 08:00:00 AM.
            Case 8:21-cv-00204
30-2020-01174712-CU-CR-CJC      - ROA #Document
                                        2 - DAVID H.1 YAMASAKI,
                                                          Filed 01/29/21      Page
                                                                    Clerk of the    6 of
                                                                                 Court By 14  Page
                                                                                          Skeeter    ID Deputy
                                                                                                  Berry, #:6 Clerk.




          1
                   CENTER FOR DISABILITY ACCESS
          2        Raymond Ballister Jr., Esq., SBN 111282
                   Russell Handy, Esq., SBN 195058
          3        Amanda Seabock, Esq., SBN 289900
                   Zachary Best, Esq., SBN 166035
          4        Mail: 8033 Linda Vista Road, Suite 200
                   San Diego, CA 92111
          5        (858) 375-7385; (888) 422-5191 fax
          6        amandas@potterhandy.com

          7        Attorneys for Plaintiff
          8
                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
          9
                                            COUNTY OF ORANGE
         10
         11
                      Rafael Arroyo                                  Case No.
         12
                             Plaintiff,
         13             v.                                           Complaint For Damages And
                      Disney Way Hotel Partners,                     Injunctive Relief For
         14
                      LLC; a Delaware Limited Liability              Violations Of: Americans With
                      Company; and Does 1-10,                        Disabilities Act; Unruh Civil
         15                                                          Rights Act
         16                  Defendants,
                                                                              Assigned for All Purposes
         17
         18
         19
         20             Plaintiff Rafael Arroyo complains of Disney Way Hotel Partners, LLC, a
         21     Delaware Limited Liability Company; and Does 1-10 (“Defendants”), and
         22     alleges as follows:
         23
         24        PARTIES:
         25        1. Plaintiff is a California resident with physical disabilities. He is
         26     substantially limited in his ability to walk. He is a paraplegic. He uses a
         27     wheelchair for mobility.
         28        2. Defendant Disney Way Hotel Partners, LLC, a Delaware Limited


                                                              1

                Complaint
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1     Liability Company owns and operates the SunCoast Park Hotel, Tapestry
2     Collection by Hilton located at 1640 S. Clementine St., Anaheim, California
3     currently and at all times relevant to this complaint.
4        3. Plaintiff does not know the true names of Defendants, their business
5     capacities, their ownership connection to the property and business, or their
6     relative responsibilities in causing the access violations herein complained of,
7     and alleges a joint venture and common enterprise by all such Defendants.
8     Plaintiff is informed and believes that each of the Defendants herein,
9     including Does 1 through 10, inclusive, is responsible in some capacity for the
10    events herein alleged, or is a necessary party for obtaining appropriate relief.
11    Plaintiff will seek leave to amend when the true names, capacities,
12    connections, and responsibilities of the Defendants and Does 1 through 10,
13    inclusive, are ascertained.
14
15       JURISDICTION:
16       4. This Court has subject matter jurisdiction over this action as a court of
17    general jurisdiction. This Court has personal jurisdiction over Defendants
18    because they conduct substantial business in the State of California, County of
19    Orange, and Defendant’s offending Website is available throughout
20    California.
21       5. Venue it proper in this Court because Defendant conducts business in
22    this County.
23       6. Unlimited jurisdiction is proper because Plaintiff seeks a permanent
24    injunction ordering compliance with the Americans with Disabilities Act.
25
26       PRELIMINARY STATEMENT
27       7. This is a lawsuit challenging the reservation policies and practices of a
28    place of lodging. Plaintiff does not know if any physical or architectural


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      Complaint
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1     barriers exist at the hotel and, therefore, is not claiming that that the hotel has
2     violated any construction-related accessibility standard. Instead, this is about
3     the lack of information provided on the hotel’s reservation website that would
4     permit plaintiff to determine if there are rooms that would work for him.
5        8. After decades of research and findings, Congress found that there was
6     a “serious and pervasive social problem” in America: the “discriminatory
7     effects” of communication barriers to persons with disability. The data was
8     clear and embarrassing. Persons with disabilities were unable to “fully
9     participate in all aspects of society,” occupying “an inferior status in our
10    society,” often for no other reason than businesses, including hotels and
11    motels, failed to provide information to disabled travelers. Thus, Congress
12    decided “to invoke the sweep of congressional authority” and issue a “national
13    mandate for the elimination of discrimination against individuals with
14    disabilities,” and to finally ensure that persons with disabilities have “equality
15    of opportunity, full participation, independent living” and self-sufficiency.
16       9. As part of that effort, Congress passed detailed and comprehensive
17    regulations about the design of hotels and motels. But, as importantly,
18    Congress recognized that the physical accessibility of a hotel or motel means
19    little if the 61 million adults living in America with disabilities are unable to
20    determine which hotels/motels are accessible and to reserve them. Thus,
21    there is a legal mandate to provide a certain level of information to disabled
22    travelers.
23       10. But despite the rules and regulations regarding reservation procedures,
24    a 2019 industry article noted that: “the hospitality sector has largely
25    overlooked the importance of promoting accessible features to travelers.”
26       11. These issues are of paramount important. Persons with severe
27    disabilities have modified their own residences to accommodate their unique
28    needs and to ameliorate their physical limitations. But persons with disabilities


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1     are never more vulnerable than when leaving their own residences and having
2     to travel and stay at unknown places of lodging. They must be able to ascertain
3     whether those places work for them.
4
5        FACTUAL ALLEGATIONS:
6        12. Plaintiff planned on making a trip in September of 2020 to the
7     Anaheim, California, area.
8        13. He chose the SunCoast Park Hotel, Tapestry Collection by Hilton
9     located at 1640 S. Clementine St., Anaheim, California because this hotel was
10    at a desirable price and location.
11       14. Plaintiff needs an accessible guestroom. He needs clearance around
12    beds, he needs accessible restroom facilities including accessible sinks,
13    accessible tubs or showers and accessible toilets. He needs sufficient
14    maneuvering clearance in and around the guestroom. He needs accessories to
15    be located within an accessible reach range. In short, he benefits from and
16    needs compliant accessible guestroom features.
17       15. While siting bodily in California, Plaintiff went to the SunCoast Park
18    Hotel,   Tapestry     Collection     by       Hilton   reservation   website   at
19    https://www.expedia.com/Anaheim-Hotels-country-inn-suites-by-
20    radisson.h16169286.hotel-information/ seeking to book an accessible room
21    at the location on September 16, 2020. The Hotel maintains an account with
22    Expedia.com. Third-party booking at sites like Expedia.com is a service
23    offered to SunCoast Park Hotel, Tapestry Collection by Hilton’s customers.
24    SunCoast Park Hotel, Tapestry Collection by Hilton is responsible for
25    providing information about its services to its third-party partners and has
26    control over the information provided. The SunCoast Park Hotel, Tapestry
27    Collection by Hilton is aware Expedia.com presents information about its
28    services and is aware, or should be aware, of the descriptions provided by


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      Complaint
     Case 8:21-cv-00204 Document 1 Filed 01/29/21 Page 10 of 14 Page ID #:10




1       Expedia.com on its behalf.
2         16. Plaintiff found that there was little information about the accessibility
3       of the rooms. For example, under the “Accessibility” tab it mentions features
4       such as: “Accessible bathroom”, “In-room accessibility”, “Roll-in shower”,
5       and “Wheelchair accessible path to elevator”. It further states: “If you have
6       requests for specific accessibility needs, please contact the property using the
7       information on the reservation confirmation received after booking.” These
8       vague and conclusory statements offer little detail. For example, there is no
9       specific information on whether the desk/table in the room is accessible, if the
10      sink is accessible, or if the room has accessible clear floor space.
11        17. The defendant’s reservation system failed to identify and describe the
12      accessible features in the guestroom chosen by the plaintiff in enough detail to
13      reasonably permit him to assess independently whether the particular
14      guestroom met his accessibility needs.
15        18. This lack of information created difficulty for the plaintiff and the idea
16      of trying to book this room -- essentially ignorant about its accessibility --
17      caused discomfort for the Plaintiff.
18        19. Plaintiff would like to patronize this hotel but is deterred from doing so
19      because of the lack of detailed information through the hotel’s reservation
20      system. Plaintiff not only travels frequently but is always on the lookout for
21      businesses that violate the law and discriminate against him and other persons
22      with disabilities, intending to have them comply with the law and pay statutory
23      penalties.
24
25      I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
26      WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
27      Defendants.) (42 U.S.C. section 12101, et seq.)
28        20. Plaintiff re-pleads and incorporates by reference, as if fully set forth


                                                5

        Complaint
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1       again herein, the allegations contained in all prior paragraphs of this
2       complaint.
3         21. Under the ADA, it is an act of discrimination to fail to make reasonable
4       modifications in policies, practices, or procedures when such modifications
5       are necessary to afford goods, services, facilities, privileges advantages or
6       accommodations to person with disabilities unless the entity can demonstrate
7       that taking such steps would fundamentally alter the nature of the those goods,
8       services, facilities, privileges advantages or accommodations. See 42 U.S.C. §
9       12182(B)(2)(A)(ii).
10        22. Specifically, with respect to reservations by places of lodging, a
11      defendant must ensure that its reservation system, including reservations
12      made by “any means,” including by third parties, shall:
13                      a. Ensure that individuals with disabilities can make
14                            reservations for accessible guest rooms during the same
15                            hours and in the same manner as individuals who do not
16                            need accessible rooms;
17                      b. Identify and describe accessible features in the hotels and
18                            guest rooms offered through its reservations service in
19                            enough detail to reasonably permit individuals with
20                            disabilities to assess independently whether a given hotel
21                            or guest room meets his or her accessibility needs; and
22                      c. Reserve, upon request, accessible guest rooms or specific
23                            types of guest rooms and ensure that the guest rooms
24                            requested are blocked and removed from all reservations
25                            systems.
26                See 28 C.F.R. § 36.302(e).
27        23. Here, the defendant failed to modify its reservation policies and
28      procedures to ensure that it identified and described accessible features in the


                                                 6

        Complaint
     Case 8:21-cv-00204 Document 1 Filed 01/29/21 Page 12 of 14 Page ID #:12




1       hotels and guest rooms in enough detail to reasonably permit individuals with
2       disabilities to assess independently whether a given hotel or guest room meets
3       his or her accessibility needs and failed to ensure that individuals with
4       disabilities can make reservations for accessible guest rooms during the same
5       hours and in the same manner as individuals who do not need accessible
6       rooms.
7
8       II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
9       RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
10      Code § 51-53.)
11        24. Plaintiff repleads and incorporates by reference, as if fully set forth
12      again herein, the allegations contained in all prior paragraphs of this
13      complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
14      that persons with disabilities are entitled to full and equal accommodations,
15      advantages, facilities, privileges, or services in all business establishment of
16      every kind whatsoever within the jurisdiction of the State of California. Cal.
17      Civ. Code §51(b).
18        25. The Unruh Act provides that a violation of the ADA is a violation of the
19      Unruh Act. Cal. Civ. Code, § 51(f).
20        26. Defendants’ acts and omissions, as herein alleged, have violated the
21      Unruh Act by, inter alia, failing to comply with the ADA with respect to its
22      reservation policies and practices.
23        27. Because the violation of the Unruh Civil Rights Act resulted in difficulty
24      and discomfort for the plaintiff, the defendants are also each responsible for
25      statutory damages, i.e., a civil penalty. See Civ. Code § 52(a).
26
27
28


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        Complaint
     Case 8:21-cv-00204 Document 1 Filed 01/29/21 Page 13 of 14 Page ID #:13




1              PRAYER:
2              Wherefore, Plaintiff prays that this Court award damages and provide
3       relief as follows:
4           1. For injunctive relief, compelling Defendants to comply with the
5       Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
6       plaintiff is not invoking section 55 of the California Civil Code and is not
7       seeking injunctive relief under the Disabled Persons Act at all.
8           2. Damages under the Unruh Civil Rights Act, which provides for actual
9       damages and a statutory minimum of $4,000 for each offense.
10          3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
11      to 42 U.S.C. § 12205; and Cal. Civ. Code § 52(a).
12
13      Dated: December 15, 2020                CENTER FOR DISABILTY ACCESS
14
15
16
17                                              By:
18                                              Russell Handy, Esq.
                                                Attorneys for Plaintiff
19
20
21
22
23
24
25
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28


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        Complaint
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 1
                                  PROOF OF SERVICE
 2

 3
          I am employed in the County of San Diego, State of California. I am over
     the age of eighteen years and not a party to the within entitled action; my business
 4
     address is 11750 Treeview Place, San Diego, California 92131.

 5   On January 29, 2021 I served the foregoing document(s) described as NOTICE
     OF REMOVAL OF ACTION TO FEDERAL COURT PURSUANT TO 28
 6   U.S.C. SECTIONS 1331, 1441 AND 1446 (FEDERAL QUESTION
 7   JURISDICTION) by placing a true copy thereof enclosed in a sealed envelope
     addressed as follows:
 8
     Zachary Best, Esq.
 9
     Amanda Seabock, Esq.
10   Center for Disability Access
     8033 Linda Vista Road, Suite 200
11
     San Diego, California 92111
12   amandas@potterhandy.com
13   [ X ] (BY REGULAR MAIL) I mailed such envelope(s) by depositing them in
           the United States mail at San Diego, California, with postage thereon fully
14         prepaid. I am readily familiar with the firm's practice of collection and
           processing correspondence for mailing. It is deposited with the United
15         States Postal Service on that same day in the ordinary course of business. I
           am aware that on motion of party served, service is presumed invalid if
16         postal cancellation date or postage meter date is more than one day after date
           of deposit for mailing in affidavit.
17
     [ ]   (BY E-MAIL PURSUANT TO E-SERVICE RULES) I transmitted the
18         above-referenced documents to the recipient(s) by electronic service and e-
19         mail pursuant to Code of Civil Procedure section 1010.6, California Rule of
           Court 2.251 and the Local Rules regarding electronic service.
20

21   [ ] (BY FACSIMILE) I sent by facsimile to the following facsimile number:

22   [ ] (BY PERSONAL SERVICE) I caused to be delivered in such envelope(s)
         by hand to the offices of the interested parties.
23
     [ ] (STATE) I declare under penalty of perjury under the laws of the State of
24       California, that the foregoing is true and correct.

25
     [ X ] (FEDERAL) I declare that I am employed in the office of a member of the
           bar of this Court at whose direction the service was made.
26         Executed on January 29, 2021, at San Diego, California.
27
                                                  /s/Tracy L. Anielski
28
